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     Federal Defender
2    DOUGLAS BEEVERS, Bar # VI766
     Assistant Federal Defender
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     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorney for Defendant
     THERESA ANN CARR
7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )       No. CR-S-09-00170-GEB
                                     )
12                  Plaintiff,       )
                                     )       STIPULATION AND ORDER TO CONTINUE
13        v.                         )       STATUS CONFERENCE
                                     )
14   ROBERT L. CARR, and THERESA ANN )
     CARR,                           )       Date: February 19, 2010
15                                   )       Time: 9:00 a.m.
                    Defendant.       )       Judge: Hon. Garland E. Burrell
16                                   )
     _______________________________
17
            IT IS HEREBY STIPULATED between the parties, Samuel Wong,
18
     Assistant United States Attorney, for plaintiff United States of
19
     America, on the one hand, and Douglas Beevers, Assistant Federal
20
     Defender, attorney for defendant Theresa Ann Carr, and C. Emmett Mahle,
21
     Esq., attorney for defendant Robert Carr, on the other hand, that the
22
     status conference of December 11, 2009 at 9:00 a.m., be vacated, and
23
     the matter be set for status conference on February 19, 2010 at 9:00
24
     a.m.
25
            The reason for the continuance is that Attorney Mahle has just
26
     received a disc with the equivalent of 30 boxes of additional discovery
27
     and Attorney Beevers and Attorney Wong have not yet had a chance to
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1    review this evidence.       The parties agree a continuance is necessary for
2    these purposes, and agree to exclude time under the Speedy Trial Act
3    accordingly.
4           IT IS STIPULATED that the period from the date of the parties'
5    stipulation, December 11, 2009, and up to and including February 19,
6    2010, shall be excluded in computing the time within which trial of
7    this matter must be commenced under the Speedy Trial Act, pursuant to
8    18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, for ongoing
9    preparation of defense counsel.
10   Dated: December 10, 2009
11                                             Respectfully submitted,
12                                             DANIEL BRODERICK
                                               Federal Defender
13
14                                             /s/ Douglas Beevers
                                               ________________________
15                                             DOUGLAS BEEVERS
                                               Assistant Federal Defender
16                                             Attorney for Defendant
                                               THERESA ANN CARR
17
18   Dated: December 10, 2009
19                                             /s/ C. Emmett Mahle
                                               ___________________________
20                                       By:   C. EMMETT MAHLE
                                               Attorney for defendant
21                                             Robert Carr
22   Dated: December 10, 2009
23                                             LAWRENCE BROWN
                                               Acting United States Attorney
24
25                                             /s/ Samuel Wong
                                               ___________________________
26                                       By:   SAMUEL WONG
                                               Assistant U.S. Attorney
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28


     Stip and Order                            -2-
              Case 2:09-cr-00170-GEB Document 20 Filed 12/14/09 Page 3 of 3


1                                            ORDER
2               UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
3    ordered that the status conference presently set for December 11, 2009,
4    be continued to February 19, 2009, at 9:00 a.m.           Based on the
5    representation of defense counsel and good cause appearing therefrom,
6    the Court hereby finds that the failure to grant a continuance in this
7    case would deny defendants' counsel reasonable time necessary for
8    effective preparation, taking into account the exercise of due
9    diligence.       The Court finds that the ends of justice to be served by
10   granting a continuance outweigh the best interests of the public and
11   the defendant in a speedy trial.         It is ordered that time from the date
12   of the parties' stipulation, December 10, 2009, up to and including,
13   the February 19, 2009, status conference shall be excluded from
14   computation of time within which the trial of this matter must be
15   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
16   3161(h)(7)(B)(iv) and Local Code T-4, to allow defense counsel
17   reasonable time to prepare.
18   Dated:      December 11, 2009
19
20                                       GARLAND E. BURRELL, JR.
21                                       United States District Judge

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     Stip and Order                           -3-
